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8                                     UNITED STATES DISTRICT COURT

9                                   EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                               No. 2:06-cr-00200-MCE
12
                     Plaintiff,
13
            v.                                               ORDER
14

15   DONALD A. EDGECOMB,

16               Defendant.
     _______________________________________/
17

18
            IT IS HEREBY ORDERED that defendant, Donald Edgecomb is to return from Florida to his
19
     residence by June 8, 2007. Immediately upon his return from Florida, defendant Donald Edgecomb
20
     shall contact Pretrial Services and advise of same.
21
     Dated: June 6, 2007
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23                                             __________________________________
                                               MORRISON C. ENGLAND, JR
24                                             UNITED STATES DISTRICT JUDGE

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